Case 1:21-mc-20544-RNS Document 1-11 Entered on FLSD Docket 02/09/2021 Page 1 of 3




                 EXHIBIT 10
Case  1:21-mc-20544-RNS Document 1-11 Entered MICHAEL
FOR ATTORNEY / LAW FIRM PURPOSES ONLY
                                              on FLSD    Docket 02/09/2021 Page 2 of 3
                                                      FISCHER-Comprehensive-Report-202012141517




                                                             Table of Contents
 Subject Information ............................................................................................................................................. 2
 Potential Subject Photos (None Found) ............................................................................................................ 2
 Possible Criminal Records (4 Found) ................................................................................................................ 2
 Possible Employers (1 Found) ........................................................................................................................... 4
 Address Summary (11 Found)............................................................................................................................ 4
 Address Details (11 Found) ................................................................................................................................ 5
 Cities History (7 Found) ...................................................................................................................................... 6
 Counties History (6 Found)................................................................................................................................. 6
 Driver's License Information (2 Found) ............................................................................................................. 6
 Utilities (1 Found) ................................................................................................................................................ 7
 Professional Affiliations (None Found) ............................................................................................................. 7
 Professional Licenses (None Found) ................................................................................................................ 7
 Bankruptcy Records (None Found) ................................................................................................................... 7
 Liens (4 Found) .................................................................................................................................................... 7
 Judgments (None Found) ................................................................................................................................... 8
 Current Property Deeds (None Found) .............................................................................................................. 8
 Past Property Deeds (None Found) ................................................................................................................... 8
 Property Foreclosures (None Found) ................................................................................................................ 8
 Property Assessments (None Found) ............................................................................................................... 8
 Evictions (None Found) ...................................................................................................................................... 8
 Current Vehicle Information (None Found) ....................................................................................................... 8
 Past Vehicle Information (2 Found) ................................................................................................................... 8
 FL Accidents (None Found) .............................................................................................................................. 12
 Global Watch Lists (None Found) .................................................................................................................... 12
 US Business Affiliations (None Found) ........................................................................................................... 12
 UCC Filings (None Found) ................................................................................................................................ 12
 US Corporate Affiliations (None Found).......................................................................................................... 12
 Aircraft Records (None Found) ........................................................................................................................ 12
 Pilot Licenses (None Found) ............................................................................................................................ 12
 Voter Registrations (None Found) ................................................................................................................... 12
 Hunting Permits (None Found)......................................................................................................................... 12
 Weapon Permits (None Found) ........................................................................................................................ 13
 Possible Relatives - Summary (55 Found) ...................................................................................................... 13
 Likely Associates - Summary (16 Found)........................................................................................................ 14
 Possible Associates - Summary (24 Found) ................................................................................................... 14
 Neighbor Phones (20 Found)............................................................................................................................ 15




                                                                   Page 1 of 16 12/14/2020
Case  1:21-mc-20544-RNS Document 1-11 Entered MICHAEL
FOR ATTORNEY / LAW FIRM PURPOSES ONLY
                                              on FLSD    Docket 02/09/2021 Page 3 of 3
                                                      FISCHER-Comprehensive-Report-202012141517



5825 COLLINS AVE, MIAMI BEACH, FL 33140-2216 (MIAMI-DADE COUNTY) (03/14/2016 to 03/14/2016)
5825 COLLINS AVE APT 3G, MIAMI BEACH, FL 33140-2202 (MIAMI-DADE COUNTY) (11/01/2010 to 01/10/2011)
300 E 57TH ST APT 7B, NEW YORK, NY 10022-2929 (NEW YORK COUNTY) (07/01/2005 to 08/22/2005)
2 WENDOVER RD, FOREST HILLS, NY 11375-6060 (QUEENS COUNTY) (06/01/2000 to 11/05/2003)
180 MIDDLEBROOK FARM RD, WILTON, CT 06897-2018 (FAIRFIELD COUNTY) (06/01/2000 to 07/08/2003)
74 MATHER ST, WILTON, CT 06897-5011 (FAIRFIELD COUNTY) (07/01/1999 to 01/23/2003)
65 DRUM HILL RD, WILTON, CT 06897-2412 (FAIRFIELD COUNTY) (05/1999 to 01/23/2003)
135 HICKS LN, GREAT NECK, NY 11024-2104 (NASSAU COUNTY) (02/1994 to 01/23/2003)
PO BOX 82266, SAN DIEGO, CA 92138-2188 (SAN DIEGO COUNTY) (11/2000 to 06/2002)



Address Details (11 Found)

      7980 BISCAYNE POINT CIR, MIAMI BEACH FL 33141-1702 (MIAMI-DADE COUNTY) (02/01/2005 to 12/11/2020) [ Back to
      Summary ]
        Subdivision Name: BISCAYNE POINT
        Owner:
            BISPOINT LLC
        Purchase Date: 02/18/2004
        Purchase Price: $1,500,000
        Assessed Value: $2,230,841
        Living Square Feet: 4,052
        Land Square Feet: 12,150

      1895 NE 117TH RD, NORTH MIAMI FL 33181-3301 (MIAMI-DADE COUNTY) (04/01/1999 to 12/02/2020) [ Back to Summary ]
        Subdivision Name: SANS SOUCI ESTATES
        Owner:
           JEFFREY SLAVET
        Purchase Date: 03/17/1998
        Purchase Price: $325,000
        Assessed Value: $1,046,159
        Living Square Feet: 3,188
        Land Square Feet: 9,375

      5825 COLLINS AVE, MIAMI BEACH FL 33140-2216 (MIAMI-DADE COUNTY) (03/14/2016 to 03/14/2016) [ Back to Summary ]
        Owner:
           YESENIA FLORES [ View Person Record ](33)
        Purchase Date: 04/25/2019
        Purchase Price: $100
        Assessed Value: $269,640
        Living Square Feet: 1,323

      5825 COLLINS AVE APT 3G, MIAMI BEACH FL 33140-2202 (MIAMI-DADE COUNTY) (11/01/2010 to 01/10/2011) [ Back to
      Summary ]
        Subdivision Name: CORINTHIAN CONDO
        Address contains: 1 office, 125 apartments, 13 penthouses
        Owner:
        Living Square Feet: 1,909

300 E 57TH ST APT 7B, NEW YORK NY 10022-2929 (NEW YORK COUNTY) (07/01/2005 to 08/22/2005) [ Back to Summary ]
  Address contains: 157 apartments, 3 front units, 4 penthouses

      2 WENDOVER RD, FOREST HILLS NY 11375-6060 (QUEENS COUNTY) (06/01/2000 to 11/05/2003) [ Back to Summary ]
        Owner:
          JAMES LEICHTUNG [ View Person Record ]
        Purchase Date: 03/16/2007
        Purchase Price: $1,350,000
        Assessed Value: $106,080
        Land Square Feet: 2,419




                                                Page 5 of 16 12/14/2020
